Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 1 of 19 Page|D 6

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lN THE UNITED STATES DISTRICT COURT 0 $ D'C'
FOR THE WEsTERN DISTRICT oF TENNEssEE 5 AUG 12 PH 3= 29

EASTERN DIVISION ;;,.»;_»_t,-`s ,.,._|,
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MARY J. BROOKS, )
)
Plaintiff, )
)

v. ) No. 04-1299-T/An
)
JO ANNE B. BARNHART, )
Commissioner of Social Security, )
)
Defendant. )

 

ORDER AFFIRMING COMMISSIONER’S DECISION

 

Plaintiff, Mary J. Brooks, filed this action to obtain judicial review of the
Defendant Commissioner’s final decision denying her applications for disability
insurance benefits under Title II of the Social Security Act (the “Act”), 42 U.S.C. §§ 410
et seq, and for supplemental security income (SSI) benefits under Title XVI of the Act,
42 U.S.C. § 1381 et seq. Plaintiff’s applications Were filed on November 17, 2000, and
Were denied both initially and upon reconsideration by the Social Security
Administration (SSA). Plaintiff` requested a hearing before an administrative law judge
(ALJ) Which Was held on July 30, 2002. The ALJ issued a decision on September 26,
2002, determining that plaintiff Was not disabled as defined by the Act and Social

Security Regulations. On February 25, 2003, the Appeals Council granted plaintiffs

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Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 2 of 19 Page|D 7

request for review and remanded the case to the ALJ for a new hearing.l The ALJ
conducted a supplemental hearing on March 8, 2004 and again issued an unfavorable
decision on July l2, 2004. Thus, the ALJ’s decision became the final decision of the
Commissioner of Social Security. Plaintiff then filed this action asking the court to
reverse and remand the ALJ’s decision on several grounds: the decision denying plaintiff
disability benefits is not supported by substantial evidence, the ALJ failed to properly
follow the remand order from the Appeals Council, the ALJ failed to demonstrate
specific jobs the plaintiff is capable of perfonning, and the ALJ improperly discredited
certain pieces of medical evidence The Commissioner contends that the ALJ’s decision
is supported by substantial evidence and that the ALJ properly followed the remand
order, is not required to outline specific jobs the plaintiff can perform, and properly
discredited the medical evidence at issue. For the reasons set forth below, the
Commissioner’s decision is AFFIRMED.
Standard of Review

Judicial review in this court is limited to determining whether or not there is
substantial evidence in the record as a whole to support the Commissioner’s decision,
and whether the correct legal standards were applied w 42 U.S.C. § 405(g);
Richardson v. Perales, 402 U.S. 389, 401 (1971); Her v. Comm’r of Soc. Sec.. 203 F.3d

388, 389 (6th Cir. 1999); Walters v. Comm’r of Soc. Sec.. 127 F.3d 525, 528 (6th Cir.

 

l The Appeals Council remanded the case because the first hearing decision did not contain an adequate

evaluation of medical reports concerning piaintiff’s nonexertional physical and mental limitations (R.55-56).

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Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 3 of 19 Page|D 8

1997); Drummond v. Comm’r of Soc. Sec., 126 F.3d 837, 840 (6th Cir. 1997); CLtliM
Sec’y of I-Iealth and Human Serv., 25 F.3d 284, 286 (6th Cir. 1994). Substantial evidence
is evidence that a reasonable mind would accept as adequate to support a conclusion.
P_e_r;z@, 402 U.S. at 401; E, 203 F.3d at 389; Drummond, 126 F.3d at 840; Mp, 25
F.3d at 286. The reviewing court may not resolve conflicts in the evidence nor decide

questions of credibility. Walters, 127 F.3d at 528 (quoting Garner v. Heckler, 745 F.2d

 

383, 387 (6th Cir. 1984)); Q_uthp, 25 F.3d at 286. In addition, ifthe decision is supported
by substantial evidence, it should not be reversed even if substantial evidence also
supports the opposite conclusion. Key v. Callahan, 109 F.3d 270, 273 (6th Cir. 1997);
Smith v. Chater, 99 F.3d 780, 782 (6th Cir. 1996) (citing Q_uthp, 25 F.Sd at 286).

Background of the Case

 

Plaintiff is a forty-two year old female with an education including high school
and some college. (R.356). At the time of the hearing, she was forty years old and alleged
disability since May 15, 2000, due to back problems and depression (R.103, 106, 119).
She worked as an industrial technician for Proctor & Gamble from October 1996 to May
15, 2000, her alleged onset date of disability (R.143, 357, 368). Plaintiff also worked as
a tile maker for American Olean Tile from 1984 to 1996. (R.143, 368).

Plaintiff’s physical problems allegedly began following a car accident in

December 1998.2 (R.226). Six months later, she began seeing Dr. Fereidoon Parsioon for

 

2 There is some discrepancy as to the date of the accident. Dr. Donita Keown reported a date of 1999 and
Dr. Rose Payne a date of 1992, (R.68, 236). These appear to be typographical errors, as other medical records

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Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 4 of 19 Page|D 9

posterior cervical pain and low back pain. (R.226). In July 1999, Dr. Parsioon performed
an anterior cervical diskectomy in an attempt to relieve plaintiffs neck pain. (R.207-10).
As of October 1999, plaintiff was doing well and the bones in her neck had fused
perfectly since the procedure (R.190). In November 1999, Dr. Parsioon observed that
plaintiff “doesn’t have much problem” other than her continued complaints of low back
pain. (R.l79). She was given Celebrex for her pain and was limited to lifting no more
than twenty-five pounds. (R. 17 9). Dr. Parsioon’s further observations were that her back
was normal and she could walk, stand, bend, and twist, with some limitation in bending
and stretching her neck and shoulders. (179-80). A cervical spine
x-ray performed by Dr. Parsioon in February 2000 showed that plaintiff`s bone graft had
“excellently and solidly fused” and revealed no abnormalities (R.l75). As a result,
plaintiff was told that “she can basically do whatever she pleases without any limitation.”
(R.175).

1n November 1999, plaintiff also began visiting Dr. Stephen Goodwin. (R.263). In
November, he restricted her to lifting and pulling no more than twenty-five pounds,
repeating this counsel in a February 2000 visit. (R.263-64). Throughout her visits with
Dr. Goodwin, plaintiff had persistent lumbar tenderness and limited flexion at the waist.
(R.263-66). ln April 2000, Dr. Goodwin prescribed the plaintiff Pain for depression,

possibly the result of her husband’s infidelity. (R.267, 270).

 

consistently note December 1998 as the date of the accident. (R.94, 226, 283).

4

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 5 of 19 Page|D 10

1n January 2001, Plaintiff visited Dr. Rose Payne for a consultative examination
(R.236). The physical examination demonstrated that plaintiff got out of her chair and
onto the examining table without difficulty. (R.238). She was able to lift more than ten
pounds in each hand, had a normal ability to grasp and manipulate objects, and had a
normal gait. (R.23 8). Plaintiff`s range of motion was normal for all joints and her
straight-leg raise test was negative (R.240-4l). Dr. Payne diagnosed plaintiff with back
pain and concluded that she had no impairment-related physical limitations (R.242).

A month after visiting Dr. Payne, plaintiff had the first of two very similar
physical residual functional capacity assessments performed by state agency examiners
(R.243). The assessment reported that she can lift twenty pounds occasionally, ten
pounds frequently, and that she can stand, walk, or sit six out of eight hours (R.244).
Plaintiff was also limited to occasional climbing, balancing, stooping, kneeling,
crouching, and crawling. (R.245). She had no other limitations (R.243-50).

In April 2001, plaintiff had a consultative examination with Dr. Stanley Hopp.
(R.252). His report described mild tenderness in plainitiff’s lumbosacral region and an
x-ray of her back revealed slight scoliosis convex right. (R.252). Dr. Hopp also noted
that plaintiff ambulated with a smooth gait. (R.252). His impression was that plaintiff
had mechanical low back pain syndrome without radiculopathy. (R.253). He suggested

she continue conservative measures to relieve the pain, including not lifting more than

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 6 of 19 Page|D 11

fifteen pounds, only occasionally bending, and alternating between sitting and standing
(R.253).

Plaintiff underwent the second physical residual functional capacity assessment in
May 2001. (R.274). The state agency examiner found plaintiff capable of lifting twenty
pounds occasionally and ten pounds frequently (R.275). The examiner also reported that
plaintiff can stand, walk, or sit six out of eight hours if she alternates sitting and standing
(R.275). Much like the previous assessment, climbing, balancing, stooping, kneeling,
crouching, and crawling were limited to occasional performance (R.276). Overhead
reaching was also limited. (R.277). Plaintiff had no other limitations (R.274-8 l).

In December 2001, Plaintiff Brooks began seeing Dr. Frank Jordan for her low
back pain. (R.335). Dr. Jordan diagnosed her with degenerative disc disease of the
lumbar spine with radiculitis and recommended she undergo a trial of lumbar epidural
steroid injections (R.336). Plaintiff agreed and noted that her back and leg were feeling
better after a few treatments (R.328). After a June 2002 MRI, Dr. Jordan diagnosed
plaintiff with mild multilevel spondylosis, but observed that her lumbar vertebrae were
normal in height, alignment, and signal intensity (R.337).

Following the remand order by the Appeals Council, plaintiff visited Dr. Goodwin
again, complaining of back pain and inability to sleep. (R.89). In July 2003, plaintiff
received a consultative examination performed by Dr. Donita Keown. (R.68). Dr. Keown

found some neck pain during manipulation of plaintiff" s shoulders, but discovered no

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 7 of 19 Page|D 12

scoliotic curvature or any evidence that suggested a herniated disc, nerve root
impingement, or limitations due to a spinal lesion. (R.7l). Plaintiff`s straight-leg raise
test was negative and her range of motion in the lumbar spine was excellent (R.7l).
Moreover, plaintiff only had a mild reduction in range of motion and movements in her
upper extremities without any evidence of motor strength loss or pathological reflexes
(R.7l-72). Dr. Keown limited plaintiff to lifting twenty pounds occasionally, ten pounds
frequently, and occasional balancing, kneeling, crouching, crawling, and stooping.
(R.74-75). Plaintiff was given no other limitations in her activities (R.74-75).

1n September 2003, Dr. Robert Barnett conducted a consultative examination on
the plaintiff (R.94). An MRI of plaintiff’s back revealed no herniated discs, but mild
multilevel spondylosis was discovered in her lumbar spine (R.94). Dr. Barnett diagnosed
plaintiff with arthritis in her lower back, noting that the MRI showed arthrosis and mild
disc dessication in some vertberae. (R.94). He concluded that she cannot do repetitive
lifting, bending, stooping, long standing, or long sitting. (R.95). He also determined that
plaintiff can lift twenty pounds occasionally, ten pounds frequently, and can walk, sit, or
stand one out of eight hours (R.96). Plaintiff was also limited to bending and reaching
only occasionally with restricted use of her left upper extremity. (R.96).

Plaintiff"s mental problems were first documented in a visit to Patricia Williams,
M.A., a psychological examiner, and John B. Aday, Ed.D., a licensed clinical

psychologistl (R.282). In June 2001, Ms. Williams and Dr. Aday reported that plaintiff

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 8 of 19 Page|D 13

took Paxil for the “emotional part of not working” and that her depression had developed
since her physical problems began. (R.283, 285). They further reported that plaintiff cries
daily, has poor sleep and energy, and has difficulty concentrating. (R.285). During the
visit, plaintiffs affect was broad and her mood was systhymic. (R.284). However, she
had never received psychiatric treatment for her depression and was not suicidal or
socially withdrawn. (R.283, 285). She was coherent in her thought process with no
disorganization or loosening of associations (R.284). Ms. Williams and Dr. Aday
concluded that plaintiff had a depressive disorder but her memory was adequate for most
pursuits and she had adequate social interactions, only mild impairment of concentration,
and only mild problems adapting to social stressors. (R.283).

A month later, plaintiff received a mental residual functional capacity assessment
from a state agency examiner. (R.300). The assessment found moderate limitations to
plaintiffs abilities to understand and remember instructions, carry out detailed
instructions maintain concentration for extended periods, perform activities on schedule
and maintain regular attendance, complete a workday or work week without interruptions
from psychological symptoms and perform at a consistent pace without unreasonable
rest, interact appropriately with the public, accept instructions and respond appropriately
to criticism, and set realistic goals or make plans independently of others (R.300-01).
Plaintiff was given no mental limitations for the remaining twelve of the twenty total

categories (R.300-01). The assessment concluded that plaintiff can complete simple

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 9 of 19 Page|D 14

tasks with persistence, will interact distantly with the public, will accept supportive
criticism from supervisors and will need assistance setting realistic goals (R.302).
Following the remand order, plaintiff visited Robert Kennon, Ph.D., for a
consultative psychological examination (R.78). In August 2003, Dr. Kennon recorded
that plaintiff had no history of mental health care and showed no significant impairments
in her social functioning other than that she is slightly more withdrawn and not as
socially active since her back and neck injuries (R.79, 81). Plaintiff also had no mental
impairments that would preclude her from managing her own funds (R.81). Plaintiff told
Dr. Kennon that she feels hopeless and admits having mild depressive features that have
developed since she stopped working. (R.81). She also admitted to mild generalized
nervousness (R.82). However, plaintiff’ s stream of thought was reported as logica],
clear, and coherent, and her thought process was adequately linear, flexible, and goal-
oriented. (R.82). Dr. Kennon detected no signs of underlying anxiety features no clear
indication of significant depressive symptomatology, and no indication of bizarre
ideations, unusual perceptual distortions, or difficulty in negotiating her environment
(R.84). Plaintiff’ s cognitive functioning was found to be in the low average to average
range (R.82-83). Dr. Kennon’s diagnosis was that plaintiff had mild adjustment reaction
with depressive and anxiety features (R.84). He performed a mental residual fiinctional

capacity assessment and observed only a slight impairment in plaintiff s ability to

Case 1:O4-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 10 of 19 Page|D 15

understand and remember detailed instructions (R.86-87). Otherwise, the assessment
contained no mental limitations (R.86-87).

The record also shows that, as of August 2003, plaintiff was running errands,
going to the grocery store, performing light housekeeping chores, dusting her house,
folding clothes, washing dishes, cooking, cleaning her kitchen, driving without
difficulty, reading, and attending church regularly. (R.80, 284). She smoked at least half
a pack of cigarettes daily for over fifteen years (R.79, 23 7, 252).

On March 8, 2004, plaintiff testified in an administrative hearing before ALJ
Anthony Fava. (R.338). She claimed continual back and neck pain that prevents her from
working. (R.343-45). She also testified to taking Paxil for depression that was caused by
her physical problems (R.346). She noted that she had not had any depression problems
before she began having physical problems (R.347). Plaintiff further testified that she is
unable to lift more than twenty pounds and can only lift up to ten pounds frequently
(R.350-51).

On July 12, 2004, after considering the entire record, ALJ Fava determined that
Plaintiff Brooks was not disabled. More specifically, the ALJ found that: (1) Plaintiff
met the disability insured status requirements since her alleged disability onset date of
May 15, 2000, and continues to meet those requirements through the date of this
decision; (2) Plaintiff has not engaged in substantial gainful activity since May 15, 2000;

(3) The medical evidence establishes that plaintiff has degenerative disc disease, meeting

10

Case 1:O4-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 11 of 19 Page|D 16

the definition of “severe” under the Act, but that she has no impairments or combination
of impairments listed in, or medically equal to one listed in Appendix 1, Subpart P,
Regulations No. 4; (4) Plaintiffs testimony regarding her pain, symptoms and
limitations is not fully credible; (5) Plaintiff has the residual functional capacity to
perform the physical exertional and nonexertional requirements of light work3 except for
lifting more than twenty pounds occasionally and ten pounds frequently, standing,
walking and/or sitting more than six hours out of an eight hour workday, and performing
greater than occasional postural activities (20 C.F.R. § 404.1545); (6) Plaintiff is unable
to perform her past relevant work as an industrial technician or tile maker; (7) Plaintiff, at
forty-one years old, is defined as a younger individual under 20 C.F.R. § 404.1563; (8)
Plaintiff has a high school education (20 C.F.R. § 404.1564); (9) Plaintiff does not have
any work skills that are transferable to the functions of skilled or semiskilled work (20
C.F.R. § 404.1568); (10) Section 404.1569 of Regulations No. 4 and Rules 202.20 and
202.21, Table No. 2, Appendix 2, Subpart P, Regulations No. 4 would direct a
conclusion of “not disabled” based on plaintiffs exertional capacity for light unskilled
work and her age, education, and work experience; (1 l) Plaintiffs additional
nonexertional limitations do not significantly compromise plaintiffs capacity for a wide

range of light unskilled work. Therefore, using the above-cited rule as a framework,

 

3 Light work is defined as lifting no more than 20 pounds at a time with frequent lifting or carrying of
objects weighing up to 10 pounds, standing or walking, off and on, for a total of approximately 6 hours in an 8-hour
workday, and sitting intermittently during the remaining time. Use of the arms and hands is necessary to grasp, hold,
and turn objects 20 C.F.R. § 404.1567(b), 416.967(b); Social Security Ruling 83-10.

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Case 1:O4-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 12 of 19 Page|D 17

plaintiff is not disabled; and (12) Plaintiff was not under a “disability” as defined under
20 C.F.R. § 404.1520(f) at any time through the date of this decision (R.23-24).
_Ana_lmi_S

The Social Security Act defines disability as the inability to engage in substantial
gainful activity. 42 U.S.C. §§ 423(d)(l), 13820(a)(3)(A). The initial burden of going
forward is on the claimant to show that he is disabled from engaging in his former
employment; the burden then shifts to the Commissioner to demonstrate the existence of
available employment compatible with the claimant’s disability and background 42
U.S.C. §§ 423, 13820; _s_e§ Felisky v. Bowen, 35 F.3d 1027, 1035 (6th Cir. 1994). The
claimant bears the ultimate burden of establishing an entitlement to benefits Cotton v.
M, 2 F.3d 692, 695 (6th Cir. 1993).

In determining disability, the Commissioner conducts a five-step sequential

analysis, as set forth in 20 C.F.R. § 404.1520 and § 416.920:

l. An individual who is engaging in substantial gainful activity will not
be found to be disabled regardless of medical findings

2. An individual who does not have a severe impairment will not be
found to be disabled.

3. A finding of disability will be made without consideration of

vocational factors if an individual is not working and is suffering
from a severe impairment which meets the duration requirement and
which meets or equals a listed impairment found in 20 C.F.R. Part
404, Subpart. P, Appendix 1.

4. An individual who can perform work that he or she has done in the
past Will not be found to be disabled
5. If an individual cannot perform his or her past relevant work, other

factors including age, education, past work experience, and residual

12

Case 1:O4-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 13 of 19 Page|D 18
functional capacity will be considered to determine if other work can
be performed
Further analysis is unnecessary if it is determined that an individual is not disabled at any
point in this sequential evaluation process 20 C.F.R. §§ 404.1520(a), 416.920(a); _H_ogg
v. Sullivan, 987 F.2d 328, 331 (6th Cir. 1989). In this case, analysis proceeded to step
five, where the ALJ found that plaintiff is not disabled because she has the residual
functional capacity to perform light unskilled work.

Plaintiff appeals on the grounds that the ALJ ’s decision denying plaintiff
disability benefits is not supported by substantial evidence, and that the ALJ failed to
properly follow the remand order from the Appeals Council, failed to include specific
jobs the plaintiff is capable of performing, and improperly discredited certain pieces of
medical evidence The court will address each argument in the order given, first
determining if substantial evidence supports the ALJ’s findings

Regarding plaintiff s physical impairments the ALJ relied on the reports of Dr.
Goodwin, Dr. Keown, and the state agency examiners in finding that plaintiff was
capable of performing light work. (R.21). Dr. Goodwin, plaintiffs treating physician,
reported consistent lumbar tenderness in plaintiff s lumbar region with limited flexion in
her waist. (R.263-66). On two occasions he limited plaintiff to lifting no more than
twenty-five pounds (R.263-64). Dr. Keown noted that plaintiff showed signs of some
pain in her neck but found only a mild reduction in plaintiffs range of motion due to the

pain (R.71-72). While Dr. Keown found an excellent range of motion in plaintiffs

13

Case 1:O4-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 14 of 19 Page|D 19

lumbar spine and no evidence cfa herniated disc, scoliotic curvature, or nerve root
impingement, she limited plaintiff to lifting twenty pounds occasionally, ten pounds
frequently, and climbing, balancing, kneeling, crouching, crawling, and stooping only
occasionally (R.72, 74-75). These limitations are consistent with the physical residual
functional capacity assessments performed by the state agency examiners Both
assessments found plaintiff capable of lifting twenty pounds occasionally, ten pounds
frequently, and walking, sitting, or standing six out of eight hours and had similar
findings as Dr. Keown concerning plaintiffs ability to climb, balance, kneel, crouch,
crawl, and stoop. (R. 244, 275). Viewing these reports with the medical evidence as a
whole, the ALJ reasonably determined that plaintiff had a severe impairment which
could produce some pain and discomfort, but that such pain was not debilitating, nor
precluded her from performing light work. (R.2l).

1n determining plaintiff s mental impairments the ALJ considered all of the
psychological reports and found no severe mental impairment that imposes any more
than minimal restrictions on plaintiffs ability to perform unskilled work. (R.20). The
examination by Ms. Williams and Dr. Aday found plaintiff s memory suitable for most
pursuits and only mild impairments to her ability to concentrate and adapt to social
stressors. (R.285). Strangely, their assessment also gave a GAF score of 50, indicating
serious impairment in social or occupational functioning (R.285). However, the ALJ

rejected this score completely since it is clearly inconsistent with their objective

14

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 15 of 19 Page|D 20

observations and conclusions finding only a mild impairment (R.18). A mental residual
functional capacity assessment by a state agency examiner found moderate limitations in
plaintiffs mental capacity, concluding that plaintiff would be able to complete simple
tasks and sustain persistence in those tasks (R.300-02). An assessment by Dr. Kennon
observed that plaintiff showed no signs of underlying anxiety, no clear indication of
significant depressive symptomatology, and no difficulty negotiating in her environment
(R.84). Dr. Kennon diagnosed plaintiff with mild adjustment reaction with mixed
depressive and anxiety features but only indicated slight impairment in plaintiffs ability
to understand and remember instructions (R.84, 86). Otherwise, she had no mental
limitations (R.86-87). Furthermore, plaintiff has never sought treatment for any mental
disorders (R.79, 283). F ailure to seek treatment can be considered in determining non-
disability unless the claimant is unable to afford treatment and his or her condition is in
fact disabling See McKnight v. Sullivan, 927 F.2d 241, 242 (6th Cir. 1990); M§:L
Sec’v ofHealth and Human Serv., 816 F.2d 1078, 1081-82 (6th Cir. 1987). Since
plaintiff has failed to establish that her mental condition is in fact disabling or that she
cannot afford mental treatment, her failure to seek mental treatment is a factor that the
ALJ may consider in finding no disability. Therefore, based on the foregoing
psychological evidence, the ALJ reasonably determined that plaintiff had no severe

mental impairment

15

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 16 of 19 Page|D 21

For the foregoing reasons the court finds that substantial evidence supports the
ALJ’s findings regarding plaintiffs physical and mental impairments Thus, the ALJ was
warranted in concluding that plaintiff was capable of performing unskilled light work.

Plaintiff asserts that the ALJ failed to follow the Appeal Council’s remand order
by failing to obtain vocational expert testimony. However, the remand order was
primarily for the ALJ to properly evaluate the evidence of plaintiffs nonexertional
limitations (R.54-55). The requirement regarding the use of a vocational expert was
conditional upon the existence of nonexertional limitations (R.55). After reviewing the
record and considering the new findings of Dr. Kennon, the ALJ determined that
plaintiff does not have a severe mental impairment that imposes more than minimal
limitations on her ability to perform unskilled light work. (R.20, 22). The ALJ also noted
that stooping and bending are required only occasionally in light work and crouching is
not required (R.22). ln addition, plaintiffs nonexertional limitations in climbing,
balancing kneeling, and crawling would not have a significant impact on her ability to
perform light work, (R.22). Thus the ALJ was not required to obtain vocational expert
testimony since no significant nonexertional impairment was found

Plaintiff also claims that the ALJ erred by not outlining specific unskilled light
work the plaintiff can perform. However, the ALJ’s use of the medical-vocational
guidelines does not require him or her to designate specific jobs the plaintiff can

perform. The SSA takes administrative notice of the work that exists in the national

16

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 17 of 19 Page|D 22

economy at each functional level. §ee 20 C.F.R. § 404.1566(d); 20 C.F.R. pt. 404, subpt
P, app. 2, § 200.00(b).

Finally, plaintiff alleges that the ALJ failed to accord appropriate weight to Dr.
Bamett’s report and the assessment of a psychological consultant The ALJ considered
Dr. Barnett’s report and rejected it because the report appeared to be based primarily on
plaintiffs subjective complaints not on Dr. Bamett’s objective observations (R.20). The
ALJ also found that the physical limitations Dr. Barnett placed on the plaintiffs capacity
were not supported by his objective observations and were inconsistent with the medical
evidence as a whole (R.20). A treating physician’s opinion is given deference only when
supported by objective medical evidence §_e_e_ Wamer v. Comm’r of Soc. Sec., 375 F.3d
387, 390 (6th Cir. 2004); Jones v. Comm’r of Soc. Sec., 336 F.3d 469, 477 (6th Cir.
2003). Even though Dr. Barnett was a treating physician, the ALJ was justified in giving
his assessment little weight since it was not supported by objective medical evidence

The psychological consultant who asserted that plaintiff had difficulties with
social functioning concentration, persistence, and pace was also properly discredited by
the ALJ. ALJ Fava determined that this assessment was entitled to little weight since its
conclusions were not supported by the balance of medical evidence (R.20). In fact, the
reports of Dr. Aday and Dr. Kennon show only slight or mild limitations in plaintiffs

mental capacity. (R.86-87, 285). Therefore, the ALJ was warranted in granting the

17

Case 1:04-cv-01299-.]DT-STA Document 12 Filed 08/12/05 Page 18 of 19 Page|D 23

psychological consultant’s report little weight due to its inconsistency with the other
psychological assessments
Conclusion
For the foregoing reasons the decision of the Commissioner is AFFIRMED. The
clerk is directed to enter judgment accordingly.

IT IS SO ORDERED.

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JAM D. TODD
UNI D STATES DISTRICT JUDGE

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Honorable .1 ames Todd
US DISTRICT COURT

